Case 21-30085-hdh11 Doc 476 Filed 04/05/21                        Entered 04/05/21 13:20:43             Page 1 of 7



    NELIGAN LLP                                               GARMAN TURNER GORDON LLP
    PATRICK J. NELIGAN, JR.                                   GREGORY E. GARMAN
    State Bar No. 14866000                                    Nevada Bar No. 6654, admitted pro hac vice
    DOUGLAS J. BUNCHER                                        Email: ggarman@gtg.legal
    State Bar No. 03342700                                    WILLIAM M. NOALL
    JOHN D. GAITHER                                           Nevada Bar No. 3549, admitted pro hac vice
    State Bar No. 24055516                                    Email: wnoall@gtg.legal
    325 North St. Paul, Suite 3600                            DYLAN CICILIANO
    Dallas, Texas 75201                                       Nevada Bar No. 12348, admitted pro hac vice
    Telephone: 214-840-5333                                   E-mail: dciciliano@gtg.legal
    Facsimile: 214-840-5301                                   7251 Amigo Street, Suite 210
    pneligan@neliganlaw.com                                   Las Vegas, Nevada 89119
    dbuncher@neliganlaw.com                                   Telephone: 725-777-3000
    jgaither@neliganlaw.com                                   Facsimile: 725-777-3112
    Counsel for Debtors and                                   Counsel for Debtors
    Debtors-in-Possession                                     and Debtors-in-Possession




                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

IN RE:                                                       §            CHAPTER 11
                                                             §
NATIONAL RIFLE ASSOCIATION OF                                §            CASE NO. 21-30085-hdh11
AMERICA and SEA GIRT LLC,                                    §
                                                             §
           DEBTORS1                                          §            Jointly Administered
                                                             §

                     DEBTORS’ DESIGNATION OF DEPOSITION TESTIMONY


           The National Rifle Association of America (“NRA”) and Sea Girt LLC (“Sea Girt” and

together with NRA, the “Debtors”), debtors and debtors-in-possession, hereby submit the

following designations of depositions. Debtors reserve the right to revise or remove designations

based on rulings that may issue on motions before the Court, time limitations, or on alternative

ways to present facts that may become available during trial.




1
    The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt).



DEBTORS’ DESIGNATION OF DEPOSITION TESTIMONY – Page 1 of 7
Case 21-30085-hdh11 Doc 476 Filed 04/05/21     Entered 04/05/21 13:20:43    Page 2 of 7




   1. William Wang, as Corporate Representative of New York Attorney General (March 23,

2021)

                                  Debtors’ Designations

 8:2-6

 9:7-12:23

 13:20-14:14

 16:15-16:19

 16:23-17:02

 17:10-13

 17:18-20

 17:25-18:03

 18:09-19:19

 19:23-25

 20:21-22:25

 23:02-11

 23:15-25:07

 25:12-13

 25:23-28:17

 29:16-20

 30:25-31:3

 32:1-10

 32:22-37:24

 41:6-42:18

 43:1-44:4

 44:19-44:21




DEBTORS’ DESIGNATION OF DEPOSITION TESTIMONY – Page 2 of 7
Case 21-30085-hdh11 Doc 476 Filed 04/05/21    Entered 04/05/21 13:20:43   Page 3 of 7




 45:14-46:24

 48:8-51:20

 52:11-21

 53:1-6

 53:18-23

 54:4-14

 54:17-25

 55:8-10

 55:16-21

 55:24-57:6

 56:25-57:9

 57:25-58:3

 59:6-12,14

 60:11-61:14

 61:24-63:16

 63:24-64:17

 65:18-66:1

 66:19-69:6

 72:6-14

 73:15-20

 74:2-6

 74:11-76:11

 76:24-77:3

 77:10-25

 78:21-23




DEBTORS’ DESIGNATION OF DEPOSITION TESTIMONY – Page 3 of 7
Case 21-30085-hdh11 Doc 476 Filed 04/05/21    Entered 04/05/21 13:20:43   Page 4 of 7




 79:3

 79:4-83:9

 84:6-12

 85:1-12

 87:23-89:18; 89:20-22

 91:2-4

 91:19-23

 94:7-15

 99:9-101:10

 101:20-102:5

 104:22-105:24

 106:3-6

 106:9-16

 108:18-24

 112:14-113:11

 121:21-122:15

 124:7-15

 146:4-23

 174:12-20

 175:5-176:10

 178:24-179:6

 180:12-17

 196:8-19

 203:20-205:4

 207:17-208:22




DEBTORS’ DESIGNATION OF DEPOSITION TESTIMONY – Page 4 of 7
Case 21-30085-hdh11 Doc 476 Filed 04/05/21     Entered 04/05/21 13:20:43   Page 5 of 7




 210:5-15

 210:23-212:3

 211:25-212:16

 212:23-213:8

 214:3-10

 214:11-215:23

 217:8-222:7

 218:8-223:7

 235:14-239:10

 246:17-247:10

 248:20-249:14

 250:13-254:12

 254:20-256:20

 257:7-259:2

 260:9-260:20

 268:8-271:4

 271:17-272:2

   2. Gayle Stanford (March 25, 2021)

                                  Debtors’ Designations

 13:2-6

 13:25-14:8

 14:21-15:11

 17:4-8

 20:7-9

 20:18-21:5




DEBTORS’ DESIGNATION OF DEPOSITION TESTIMONY – Page 5 of 7
Case 21-30085-hdh11 Doc 476 Filed 04/05/21    Entered 04/05/21 13:20:43   Page 6 of 7




 21:17-25

 23:22-24:4

 24:14-25:1

 36:1-18

 43:5-21

 44:4-5

 49:21-50:5

 51:4-7

 53:8-15

 54:12-22

 56:12-21

 64:13-24

 70:1-9

 76:5-78:9

 84:13-17

 87:23-88:22

 91:25-92:10

 100:20-102:5

 103:14-106:7


...



...



...




DEBTORS’ DESIGNATION OF DEPOSITION TESTIMONY – Page 6 of 7
Case 21-30085-hdh11 Doc 476 Filed 04/05/21    Entered 04/05/21 13:20:43          Page 7 of 7




Dated: April 5, 2021                     Respectfully submitted,


                                         /s/ Gregory E. Garman
                                         Patrick J. Neligan, Jr., SBN 14866000
                                         Douglas J. Buncher, SBN 03342700
                                         John D. Gaither, SBN 24055516
                                         NELIGAN, LLP
                                         325 North St. Paul, Suite 3600
                                         Dallas, Texas 75201
                                         Telephone: 214-840-5333
                                         Facsimile: 214-840-5301
                                         pneligan@dneliganlaw.com
                                         dbuncher@neliganlaw.com
                                         jgaither@neliganlaw.com
                                         Gregory E. Garman
                                         Nevada Bar No. 6654, admitted pro hac vice
                                         William M. Noall
                                         Nevada Bar No. 3549, admitted pro hac vice
                                         Dylan Ciciliano
                                         Nevada Nar No. 12348, admitted pro hac vice
                                         GARMAN TURNER GORDON LLP
                                         7251 Amigo Street, Suite 210
                                         Las Vegas, Nevada 89119
                                         T: 725-777-3000 / F: 725-777-3112
                                         ggarman@gtg.legal
                                         wnoall@gtg.legal
                                         dciciliano@gtg.legal
                                         Counsel for Debtors


      4840-1074-1219, v. 1




DEBTORS’ DESIGNATION OF DEPOSITION TESTIMONY – Page 7 of 7
